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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KATHY TEAGUE,                     )
                                  )
     Plaintiffs,                  )    CIVIL ACTION FILE NO.:
                                  )
v.                                )    ______________________
                                  )
ALDRIDGE PITE HAAN, LLP,          )
                                  )
     Defendant.                   )
                                  )

                   EXHIBIT “C” SUMMONS OF GARNISHMENT
                      Case 1:23-mi-99999-UNA Document 396-3 Filed 02/08/23 Page 2ID#
                                                                                  of 2E-Q3PKDK44-QEX
                                  IN THE STATE COURT OF COBB COUNTY
                                               IN THE SUPERIOR COURT OF WINNER COUNTY
                                                           STATE OF GEORGIA


 AmeriCredit Financial Services, Inc., DBA d/b/a GM Financial                             Civil Action No. 22-G-343
                                  Plaintiff
                                                                                          Garnishment Court Information:
                                     Vs                                                       State Court of Cobb County
                                                                                              12 East Park Square
                                                                                              Marietta, Georgia 30090




 TEAGUE, KATHY; 145 MACADAMIA CT, COVINGTON, Georgia 30016
                        Defendant and Address




 PIEDMONT HEALTHCARE, INC., DBA AFS: CSC of Cobb County, Inc.; 192 Anderson Street, N.E., Suite 125, Marietta, Georgia 30060
                        Garnishee and Address

                                                  SUMMONS OF CONTINUING GARNISHMENT

TO THE ABOVE-NAMED GARNISHEE:
        Total amount claimed due by the Plaintiff ............................. $                   12365.22
        Plus court cost due on this summons ...................................... $                  198.00
        Total garnishment claim ......................................................... $         12563.22

Court of Judgment                COBB COUNTY OF STATE COURT
Judgment Case No.                1608536
YOU ARE HEREBY COMMANDED to immediately hold all money, including wages, and other property, except what is known to be exempt,
belonging to the Defendant or obligations owed to the Defendant named above beginning on the day of service of this summons and
including the next 1,095 days. You are FURTHER COMMANDED to file your answer, in writing, not later than 45 days from the
date you were served with this summons, with the Clerk of this Court and serve a copy of your answer upon the Plaintiff or Plaintiff's
Attorney named above and the Defendant named above, or the Defendant's Attorney, if known, at the time of making such answer. Your
answer shall state what money, including wages, or other property, except what is known to be exempt, belonging to the Defendant or
obligations owed to the Defendant you hold or owe beginning on the day of service of this summons and between the time of such service
and the time of making your first answer. Thereafter, you are required to file further answers no later than 45 days after your last answer.
Every further answer shall state what money, including wages, and other property, except what is known to be exempt, belonging to the
Defendant or obligations owed to the Defendant you hold or owe at and from the time of the last answer to the time of the
current answer. YOU MUST FILE ADDITIONAL ANSWERS UNTIL THE SOONER OF: THE PAYMENT OF THE
BALANCE SHOWN ON THE SUMMONS OF GARNISHMENT, THE EXPIRATION OF 1,095 DAYS, OR THE
TERMINATION OF ANY RELATIONSHIP BETWEEN GARNISHEE AND DEFENDANT WHICH INCLUDES PERIODIC
PAYMENT OBLIGATIONS FROM GARNISHEE TO DEFENDANT. Money, including wages, or other property admitted in
an answer to be subject to continuing garnishment must be sent or delivered to the Court concurrently with each answer. Should you
fail to file Garnishee Answers as required by this summons, a judgment by default will be rendered against you for the amount
remaining due on a judgment as shown in the Plaintiff's Affidavit of Continuing Garnishment.

          WITNESS the HONORABLE __________________________________________________Judge of said Court,
           This 14th day of February, 2022.
